Petition for Writ of Mandamus Denied and Memorandum Opinion filed
August 11, 2016.




                                    In The

                   Fourteenth Court of Appeals

                              NO. 14-16-00618-CV



IN RE SAMARA PORTFOLIO MANAGEMENT, LLC, THE LAW OFFICE
 OF JOSEPH ONWUTEAKA, P.C., AND JOSEPH ONWUTEAKA, Relators


                        ORIGINAL PROCEEDING
                          WRIT OF MANDAMUS
                             80th District Court
                            Harris County, Texas
                      Trial Court Cause No. 2013-35721

                       MEMORANDUM OPINION

      On August 8, 2016, relators Samara Portfolio Management, LLC, the Law
Office of Joseph Onwuteaka, P.C., and Joseph Onwuteaka filed a petition for writ
of mandamus in this court. See Tex. Gov’t Code Ann. § 22.221 (West 2004); see
also Tex. R. App. P. 52. In the petition, relators ask this court to compel the
Honorable Larry Weiman, presiding judge of the 80th District Court of Harris
County, to set aside his October 14, 2015 sanctions order.

      Relators have not shown that they are entitled to mandamus relief.
Accordingly, we deny relators’ petition for writ of mandamus.



                                  PER CURIAM


Panel consists of Justices Donovan, Brown, and Wise.




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